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                                        June 8, 2018

Via ECF

Hon. Richard J. Sullivan, USDJ
United States District Court, SDNY
40 Foley Square, Courtroom: 905
New York, NY 10007
Tel: 212-805-0264

                       Re: Igor Agaronov v. KDG Contracting Corp
                           Case No. 18-CV-00129 (RJS)(DCF)
                           Status Report
Dear Judge Sullivan:

       My firm represents plaintiff in the above-referenced action, and I respectfully write to
provide a status report as per the Court’s May 22, 2018 order. The parties have reached a
settlement of this action. We are in the process of exchanging settlement papers and intend to file
any necessary papers with the Court shortly. In light of the settlement, we kindly request an
adjournment sine die of all upcoming appearances and deadlines

       We thank the Court in advance for its time and consideration.

Respectfully submitted,

Abdul Hassan Law Group, PLLC

_/s/ Abdul Hassan____________
By: Abdul K. Hassan, Esq. (AH6510)
Counsel for Plaintiff

cc:    Defense Counsel via ECF
